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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division


UNITED STATES OF AMERICA                      )
                                              )
               V.                             )              Case No. l:19-dm-12-AJT-2
                                               )
JOHN DOE 2010R03793                            )
                                               )

                                            ORDER


       By Letter Motion dated March 3, 2010("the Motion")[Doc. 33], Chelsea Manning,

through counsel, seeks to "bar the government from transporting Ms. Manning to the Grand Jury

prior to the March 13 appearance before this Court [in connection with her Memorandum of Law

in support of Motion to Release Witness]." Upon consideration of the Motion and the arguments

in support thereof, it is hereby

        ORDERED that the Letter Motion [Doc. 33] be, and the same hereby is, DENIED.

        The Clerk is directed to forward a copy of this Order to all counsel of record.




                                             Anthony J. Tre
                                             United States


Alexandria, Virginia
March 6,2020
